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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Britlind Oil, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  16475 North Dallas Parkway
                                  Suite 230
                                  Addison, TX 75001
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Dallas                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Britlind Oil, LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Britlind Oil, LLC                                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Britlind Oil, LLC                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on      November 7, 2018
                                                   MM / DD / YYYY


                              X   /s/ Michael Bezdek                                                       Michael Bezdek
                                  Signature of authorized representative of debtor                         Printed name

                                  Title   Managing Member




18. Signature of attorney     X   /s/ Eric A. Liepins                                                       Date November 7, 2018
                                  Signature of attorney for debtor                                               MM / DD / YYYY

                                  Eric A. Liepins
                                  Printed name

                                  Eric A. Liepins
                                  Firm name

                                  12270 Coit Road
                                  Suite 100
                                  Dallas, TX 75251
                                  Number, Street, City, State & ZIP Code


                                  Contact phone     972-991-5591                  Email address      eric@ealpc.com

                                  12338110 TX
                                  Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:
 Debtor name Britlind Oil, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Billy Waller                                                                                                                                                             $14,595.00
 Enterprises
 P.O. Box 192
 Emerson, AR 71740
 Blueline Rental, LLC                                                                                                                                                     $16,026.12
 P.O. Box 840062
 Dallas, TX 75284
 Concordia Parish                                                                                                                                                         $17,076.71
 Tax Collector
 Need Address
 Davies                                                                                                                                                                   $32,180.93
 Construction, LLC
 Need Address
 DOC Energy                                                                                                                                                               $17,842.64
 Services
 98 Main Street
 LA 71091
 Hadley Energy                                                                                                                                                            $90,105.10
 Services, LLC
 1113-A Ridge Road
 Duson, LA 70529
 Hine Environmental                                                                                                                                                       $14,252.09
 Services, LLC
 4327 Hwy 27 South
 Sulphur, LA 70665
 James Ryan                                                                                                                                                               $74,985.84
 8616 Turltle Creek
 #16
 Dallas, TX 75225
 K&J Co.                                                                                                                                                                  $30,806.05
 301 E. Kaliste
 Saloom Rd. #100
 Lafayette, LA 70508
 Lime Electric                                                                                                                                                            $16,464.47
 1187 Brittmoore
 Road
 Houston, TX 77043


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Britlind Oil, LLC                                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 McGyver Inc.                                                                                                                                                             $23,750.00
 2940 Prudhomme
 Rd.
 Eunice, LA 70535
 Monda E-Line                                                                                                                                                             $17,240.78
 Services, Inc
 635 Rue
 Scholastique
 Scott, LA 70583
 Pioneer Wireline                                                                                                                                                         $31,994.00
 Services, LLC
 P.O. Box 202567
 Dallas, TX 75320
 Precision Energy                                                                                                                                                         $17,754.03
 Services, Inc
 P.O. Box 301003
 Dallas, TX 75303
 R.P.S. Cementing                                                                                                                                                         $42,640.00
 Company, LLC
 P.O. Box 176
 Livonia, LA 70755
 Randazzo Giglio &                                                                                                                                                        $21,061.49
 Bailey, LLC
 P.O. Box 51347
 Lafayette, LA 70505
 Reagan Power                                                                                                                                                             $39,788.61
 PO Box 1850
 Gretna, LA 70054
 ReliaTerre, LLC                                                                                                                                                          $14,125.43
 P.O. Box 52248
 Lafayette, LA 70505
 Southeast Texas                                                                                                                                                          $29,941.88
 HR, LLC
 4347 Phelan BLVD,
 STE 104
 Beaumont, TX 77707
 United Rental                                                                                                                                                          $107,909.21
 6125 Lake View Rd.,
 #300
 Charlotte, NC 28269




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                        ADS Family Trust
                        6527 Anita Street
                        Dallas, TX 75214


                        Aggreko, LLC
                        P.O. Box 972562
                        Dallas, TX 75397


                        Alfred W Short Trust
                        2417 Timberlake rive
                        Orlando, FL 32806


                        All Phase Electrical Services, Inc
                        P.O. Box 61474
                        Lafayette, LA 70596


                        Andrew & Mary Ann Heller
                        P.O. Box 340G40
                        Austin, TX 78734


                        Anthony Foster
                        4705 Evangeline Hwy
                        Starks, LA 70661


                        B.O.P. Ram-Block & Iron Rentals, Inc
                        P.O. Box 872
                        Weatherford, OK 73096


                        Billy Waller Enterprises
                        P.O. Box 192
                        Emerson, AR 71740


                        Blueline Rental, LLC
                        P.O. Box 840062
                        Dallas, TX 75284
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                    Bobby Johnson Equipment Co.
                    P.O. Box 399
                    Oil City, LA 71061


                    Bureau Veritas
                    384 Post Oak Rd.
                    Sulphur, LA 70663


                    Business Health Partners
                    3649 S. Beglis Parkway
                    Sulphur, LA 70665


                    Calcasieu Rentals, Inc
                    233 Highway 397
                    Lake Charles, LA 70615


                    Caprock Iol & Gas Fund LP
                    5235 Westview Drive
                    Suite 100
                    Frederick, MD 21703


                    Charles Gale
                    2929 Milton
                    Dallas, TX 75205


                    Clariant Corporation
                    Dept 2203
                    Carol Stream, IL 60132


                    Clere Cavazos
                    Need Address


                    Clifford Hoelscher
                    4960 Firestone
                    College Station, TX 77845
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                    Coastal Pipe of Louisiana, Inc
                    P.O. Box 99
                    Carencro, LA 70520


                    Concordia Parish Tax Collector
                    Need Address


                    Corbello Excavating, LLC
                    1433 Hwy 109 South
                    Vinton, LA 70668


                    Craig Blaesing
                    4125 Sicily Dr
                    Frisco, TX 75034


                    Cypress Propane
                    Need Address


                    Dart B. Trucking
                    Box 22
                    Oil City, LA 71061


                    Davies Construction, LLC
                    Need Address


                    Deep South
                    1203 Gerstner Memorial Dr
                    Lake Charles, LA 70601


                    Deepwell Energy Services, LLC
                    P.O. Box 1000, DEPT #0944
                    Memphis, TN 38148
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                    DOC Energy Services
                    98 Main Street
                    LA 71091


                    Driskell Electric Service, LLC
                    213 East Arkansas
                    Vivian, LA 71082


                    Dynamite Dumpsters
                    51582 Hwy 443
                    Loranger, LA 70446


                    Dynasty Energy Services, LlC
                    P.O. Box 81566
                    Lafayette, LA 70507


                    Earnest Clark
                    P.O. Box 3281
                    Brewer, ME 04412


                    Encore Environmental & Safety, LLC
                    1190 LaHaye Road
                    Mamou, LA 70554


                    Energy Pipe and Equipment Rentals, LLC
                    PO Box 81355
                    Lafayette, LA 70598


                    Euramerica Gas & Oil Corp
                    1333 S University Drive
                    Suite 202
                    Fort Lauderdale, FL 33324


                    Fossil Fuels of Louisiana LLC
                    216 Renee
                    Lafayette, LA 70503
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                    Frank Janusz
                    6049 Via Diana
                    Delray Beach, FL 33484


                    GAry Nolan
                    445 Johnson Ave
                    Celina, OH 45822


                    Gene Eckle
                    100 Deer CV
                    Fayetteville, GA 30214


                    Gerald Simonson
                    5813 Jeff Place
                    Minneapolis, MN 55436


                    Gulf Coast Chemical, LLC
                    220 Jacqulyn Street
                    Abbeville, LA 70510


                    Hadley Energy Services, LLC
                    1113-A Ridge Road
                    Duson, LA 70529


                    Highlander Drilling Tools
                    337 Loreal Ln
                    Davis, OK 73030


                    Hine Environmental Services, LLC
                    4327 Hwy 27 South
                    Sulphur, LA 70665


                    Houston J. Cormier
                    P.O. Box 1845
                    Vinton, LA 70668
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                    James Lapeze
                    701 Poydras Street
                    Suite 5000
                    New Orleans, LA 70139


                    James Macek
                    4356 Cloverdale Road
                    Cedar Rapids, IA 52411


                    James Ryan
                    8616 Turltle Creek #16
                    Dallas, TX 75225


                    JBKMGMT, LLC
                    1434 Eagle Bend
                    Southlake, TX 76092


                    Jerry Maier
                    100 J & J Lane
                    Stuttgart, AR 72160


                    Jesse James Gonzales
                    2051 S Ellison Dr
                    San Antonio, TX 78245


                    Joe Huesers
                    P.O. Box 61273
                    Lafayette, LA 70596


                    John Fisher
                    1690 Redball
                    Nora Springs, IA 50458


                    Jon Beerbohm
                    30 Upland Road
                    Needham, MA 02492
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                    Jonathan Thayer
                    3809 Centenary
                    Dallas, TX 75225


                    Justin Wilber
                    4209 McKinney Ave
                    Suite 102
                    Dallas, TX 75205


                    K&J Co.
                    301 E. Kaliste Saloom Rd. #100
                    Lafayette, LA 70508


                    Kenneth Johnson
                    PO box 595
                    Starks, LA 70661


                    LA Tank
                    PO Box 1863
                    Lake Charles, LA 70602


                    Lafayette Signs, Inc.
                    440 Industiral Parkway.#7
                    Lafayette, LA 70508


                    Levy Diamond Bello & Associates, LLC
                    P.O. Box 352
                    Milford, CT 06460


                    Lime Electric
                    1187 Brittmoore Road
                    Houston, TX 77043


                    Mark Coles
                    201 E. 77th Street
                    Suite 17E
                    New York, NY 10075
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                    Mark Moore
                    5103 Buddy Johnson Road
                    Starks, LA 70661


                    Mark Rubin
                    13601 Preston Raod
                    SUite 500E
                    Dallas, TX 75287


                    Marty Turco
                    3445 Hanover Street
                    Dallas, TX 75225


                    Matthew Estridge
                    5097 Buddy Johnson Road
                    Starks, LA 70661


                    McGyver Inc.
                    2940 Prudhomme Rd.
                    Eunice, LA 70535


                    Monda E-Line Services, Inc
                    635 Rue Scholastique
                    Scott, LA 70583


                    Morgan Valley
                    835 Hwy. 109
                    Starks, LA 70661


                    Olympia Minerals Leasing, LLC
                    c/o Robert Theriot
                    1001 Fannin
                    Suite 1800
                    Houston, TX 77002


                    Paul Boening
                    2240 Woodchuck
                    Saint Paul, MN 55110
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                    Pecos Financial Company, LLC
                    1800 E Airport Freeway
                    Irving, TX 75062


                    Pelican Land Surveying, LLC
                    P.O. Box 1747
                    Sulphur, LA 70664


                    Pelican Oil Tools
                    P.O. Box 2673
                    Sulphur, LA 70664


                    Perry's Welding Service
                    307 E. Oak Street
                    Abbeville, LA 70510


                    Peter McGuire
                    3839 McKinney Ave
                    Suite 503
                    Dallas, TX 75204


                    Pierce Oilfield Construction, LLC
                    P.O. Box 278
                    Dequincy, LA 70633


                    Pioneer Wireline Services, LLC
                    P.O. Box 202567
                    Dallas, TX 75320


                    Precision Energy Services, Inc
                    P.O. Box 301003
                    Dallas, TX 75303


                    R.P.S. Cementing Company, LLC
                    P.O. Box 176
                    Livonia, LA 70755
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                    R360 Environmental Solutions, LLC
                    P.O. Box 1467
                    Jennings, LA 70546


                    Randazzo Giglio & Bailey, LLC
                    P.O. Box 51347
                    Lafayette, LA 70505


                    Raymond Latiolais
                    P.O. Box 907
                    Breaux Bridge, LA 70517


                    Reagan Power
                    PO Box 1850
                    Gretna, LA 70054


                    ReliaTerre, LLC
                    P.O. Box 52248
                    Lafayette, LA 70505


                    Renate Reeder Trust
                    4410 S Retana Place
                    Broken Arrow, OK 74011


                    Rob Spangler
                    953 S Frontage Rd West
                    Suite 208
                    Vail, CO 81657


                    Roger Pevoto
                    105 6th Street
                    Starks, LA 70661


                    Ron Edgington
                    5152 Buddy Johnson Road
                    Starks, LA 70661
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                    Rusco Services, Inc.
                    1050 QCP Park Drive
                    Broussard, LA 70518


                    Ryvers G reeder Trust
                    4410 Retana Place
                    Broken Arrow, OK 74011


                    Sand Control
                    PO Box 92561
                    Lafayette, LA 70509


                    Sandra Dodge
                    6241 Calle del Alcazar
                    Rancho Santa Fe, CA 92067


                    Sean & Yuka Byers
                    2940 Warrenton Way
                    Colorado Springs, CO 80922


                    Southeast Texas HR, LLC
                    4347 Phelan BLVD, STE 104
                    Beaumont, TX 77707


                    Southside Machine Works, Inc
                    P.O. Box 6410
                    Lake Charles, LA 70606


                    State Of Louisiana
                    Dept of Environmental Quality
                    Financial Services Division
                    P.O. Box 4311
                    Baton Rouge, LA 70821


                    State Police, Right-to-Know
                    Office of Management and Finance
                    P.O. Box 66909
                    Baton Rouge, LA 70896
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                    Tanglewood Equities LP
                    225 Greenfield Parkway
                    Suite 202
                    Liverpool, NY 13088


                    TCP Specialists, Inc.
                    585 Park Dr.
                    Gloster, LA 71030


                    Terrance Morton
                    1284 Brawley School Road
                    Mooresville, NC 28117


                    Thomas Dodge
                    P.O. Box 601796
                    Dallas, TX 75360


                    United Rental
                    6125 Lake View Rd., #300
                    Charlotte, NC 28269


                    Vernon Govender
                    6215 Prestondell
                    Dallas, TX 75254


                    William Duvall, Jr.
                    2000 McKinney Ave
                    Suite 1000
                    Dallas, TX 75201
